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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                        )
 CAMPAIGN FOR ACCOUNTABILITY,           )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                  Case No. 18-cv-783 (RDM)
                                        )
 U.S. ENVIRONMENTAL PROTECTION          )
 AGENCY,                                )
                                        )
                           Defendant. )
                                        )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s August 5, 2019 Minute Order, the parties hereby submit the

following Joint Status Report.

       1.       As stated in the August 10, 2018, Joint Status Report (ECF No. 13), Defendant

U.S. Environmental Protection Agency (EPA) and Plaintiff Campaign for Accountability agreed

that EPA would review 500 potentially responsive documents per month, with rolling

productions on the 15th of each month.

       2.       On May 15, 2019, Defendant released 589 pages of responsive documents.

Releases of responsive documents in the interim were delayed after Defendant determined that

they required additional review.

       3.       Defendant will resume production of responsive documents on or before August

30, 2019.

       4.       Defendant anticipates that it will make its final production of responsive

documents on or before September 15, 2019.




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         5.       Plaintiff is reviewing the materials and information produced in this case to

evaluate the nature of the redactions contained therein.

         6.       The parties will confer regarding any questions raised or issues identified by

Plaintiff.

         7.       The parties propose to file a further joint status report by not later than October 1,

2019, regarding whether the parties are still conferring on open issues or whether the parties

believe that briefing is necessary in this case and, if so, proposing a briefing schedule.



Dated:         August 19, 2019                   Respectfully submitted,

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